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                           United States District Court
                           Eastern District of Michigan
                                Southern Division

Great Lakes Acquisition Corp.
d/b/a Elara Caring,

      Plaintiff,                                 Case No. 20-10781

v.                                               Hon. Bernard A. Friedman

Paradigm Living Concepts, LLC d/b/a/             Magistrate Judge Michael J.
Paradigm Health, Amy Stone, and                  Hluchaniuk
Mitasha Owens,

      Defendants.


            Stipulated Order of Dismissal and Permanent Injunction


      This matter having come before the Court on the stipulation of Plaintiff

Great Lakes Acquisition Corp. d/b/a Elara Caring (“Elara”) and Defendants

Paradigm Living Concepts, LLC d/b/a/ Paradigm Health (“Paradigm”), Amy Stone

(“Stone”), and Mitasha Owens (“Owens”) (Plaintiff and Defendants are

collectively the “Parties”) for a stipulated order and permanent injunction; the

Parties, in the interest of avoiding further time and expense in litigating this matter,

having reached a settlement of this lawsuit, without admission of any wrongdoing

or liability, a key component of which is the entry of this Order, and having waived

the entry of findings of facts and conclusions of law, and being represented by their



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own independently selected counsel; the Court having reviewed the pleadings,

motions, and sworn declarations in this matter; the Court orders:

      1.       Defendants have represented to the Court in sworn declarations –

dated May 11, 2020 (Owens); dated May 11, 2020 (Stone); dated May 18, 2020

(Paradigm’s President and CEO Jeff Jarecki) – that they have undertaken

reasonable efforts to search for Elara’s “Confidential Information” (as that term is

defined in the Parties’ Settlement Agreement) and either returned to Elara such

information or did not find such information in their possession, custody, or

control. Based on these representations and the stipulation of the parties,

Defendants are permanently enjoined from using or disclosing Elara’s Confidential

Information and, if any Defendant later discovers or comes into the possession,

custody, or control of Elara’s Confidential Information, that Defendant must,

without disclosing or using the information in any manner, promptly notify Elara,

through counsel, and cooperate with Elara to return and/or delete the Confidential

Information.

      2.       Until January 3, 2022, Owens and Paradigm are permanently enjoined

from having Owens “directly or indirectly” (as that phrase is defined by the

Parties’ Settlement Agreement): (a) “solicit” (as that term is defined by the Parties’

Settlement Agreement) any person who is a known employee of Elara to leave his

or her employment with Elara or to work for Paradigm or any of its affiliates; and


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(b) provide services, in any capacity, for Paradigm or any of its affiliates, other

than direct patient care services and duties incidental to those services.

      3.     Until December 1, 2021, Stone and Paradigm are permanently

enjoined from having Stone “directly or indirectly” (as that phrase is defined by the

Parties’ Settlement Agreement): (a) “solicit” (as that term is defined by the Parties’

Settlement Agreement) any person who is a known employee of Elara to leave his

or her employment with Elara or to work for Paradigm or any of its affiliates; and

(b) “solicit” or “market” for Paradigm or any of its affiliates the following referral

sources: Community Howard Regional Health (Kokomo, Indiana), Community

Hospital Anderson (Anderson, Indiana), Marion VA Medical Center (Marion,

Indiana), Waterford Place Health Campus (Kokomo, Indiana), IU Health Ball

Memorial Hospital (Muncie, Indiana), and IU Tipton Hospital (Tipton, Indiana).

Stone’s involvement on behalf of Paradigm with any referral source not listed in

the preceding sentence shall not violate this Order.

      4.     In the event that any Defendant violates this Order or breaches the

Parties’ Settlement Agreement, Elara may seek all remedies available at law and

equity, including recovery of damages from the breaching Defendant resulting

from the violation or breach. Further, in the event of any violation or attempted

violation of this Order or of the Settlement Agreement, the Court will extend the

permanent injunction for a period equal to the time period beginning on the date


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the violation commenced and ending when the activities constituting such violation

terminated. Before Elara files any legal action or seeks any relief from the Court

because of or related to a violation of this Order or breach of the Settlement

Agreement, Elara shall provide the breaching Defendant with written notice of the

violation or breach and give that Defendant fifteen (15) days to respond in writing

and attempt, in good faith, to resolve the matter informally. If Elara and the

Defendant are not able to resolve the matter, Elara may take legal action and

should any motion, claim, or enforcement action be instituted by Elara, Elara shall

be entitled to its reasonable attorneys’ fees, costs, and litigation expenses from the

breaching Defendant, should Elara prevail.

      5.     The Court finds that the limited restrictions of this Order are

reasonable, valid, and enforceable.

      6.     This lawsuit is hereby dismissed, with prejudice. The Court maintains

jurisdiction over Defendants to enforce this Order and the parties’ Settlement

Agreement.



      IT IS SO ORDERED.

                                          s/Bernard A. Friedman
Dated: June 10, 2020                      Bernard A. Friedman
       Detroit, Michigan                  Senior United States District Judge




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So Stipulated:

Kienbaum Hardy Viviano Pelton &            Williams, Williams, Rattner &
Forrest, P.L.C.                            Plunkett, P.C.
Attorney for Plaintiff                     Attorneys for Defendants

By: /s/Eric J. Pelton_______________       By:/s/Richard E. Rassel (w/consent)
     Eric J. Pelton (P40635)                 Richard E. Rassel
     Ryan D. Bohannon (P73394)               380 N. Old Woodward Ave.,
280 N. Old Woodward Ave., Ste. 400           Suite 300
Birmingham, MI 48009                         Birmingham, MI 48009
(248) 645-0000                               (248) 642-0333
epelton@khvpf.com                            rer@wwrplaw.com
rbohannon@khvpf.com

Dated: June 9, 2020                        Dated: June 9, 2020




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